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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
                       Plaintiff,
        vs.                                                            8:24CR36
SCOTT DELAET,
                       Defendant.                                       ORDER




        The court has been presented a Financial Affidavit (CJA Form 23) signed by the above-
named defendant in support of a request for appointed counsel. After a review of the Financial
Affidavit, I find that the above-named defendant is eligible for appointment of counsel pursuant to
the Criminal Justice Act, 18 U.S.C. §3006A, and Amended Criminal Justice Act Plan for the
District of Nebraska.


       IT IS ORDERED:
         The Federal Public Defender for the District of Nebraska is appointed to represent the
above named defendant in this matter. In the event that the Federal Public Defender accepts this
appointment, the Federal Public Defender shall forthwith file an appearance in this matter. In the
event the Federal Public Defender should decline this appointment for reason of conflict or on the
basis of the Criminal Justice Act Plan, the Federal Public Defender shall forthwith provide the
court with a draft appointment order (CJA Form 20) bearing the name and other identifying
information of the CJA Panel attorney identified in accordance with the Criminal Justice Act Plan
for this district.


       IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to the Federal
Public Defender for the District of Nebraska.


       DATED this 26th day of February, 2024.


                                                     BY THE COURT:

                                                     s/ Susan M. Bazis
                                                     United States Magistrate Judge
